           Case 5:18-cv-01337-DAE Document 5 Filed 04/18/19 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

FORREST ALAN FUTRELL,                        §
                                             §
      Plaintiff,                             §
v.                                           §   NO: 5:18-cv-01337-DAE
                                             §
STANDARD INSURANCE COMPANY,                  §
                                             §
      Defendant.                             §


                                JOINT ADR REPORT

      Pursuant to the Scheduling Order (Dkt. 4) dated February 7, 2019, Plaintiff and

Defendant file this Joint ADR Report pursuant to W.D. TEX. R. CV-88(b), and state:

      1.      The parties are engaging in informal settlement negotiations. The
              individuals responsible for settlement negotiations are Tiffanie S.
              Clausewitz for the Plaintiff and Ryan McComber for Defendant.

      2.      In the event informal settlement negotiations are unsuccessful, the parties
              have agreed to mediate on a mutually agreeable date.

      3.      The parties have agreed to equally share the cost of mediation.




JOINT ADR REPORT                                                                   PAGE 1
        Case 5:18-cv-01337-DAE Document 5 Filed 04/18/19 Page 2 of 3



                                     Respectfully submitted,

                                     By:     /s/ Ryan K. McComber
                                           Ryan K. McComber
                                           Texas Bar No. 24041428
                                           ryan.mccomber@figdav.com
                                           Cameron E. Jean
                                           Texas Bar No. 24097883
                                           cameron.jean@figdav.com

                                     FIGARI + DAVENPORT, LLP
                                     901 Main Street, Suite 3400
                                     Dallas, Texas 75202
                                     (214) 939-2000
                                     (214) 939-2090 – fax

                                     ATTORNEYS FOR DEFENDANT


                                     -and-


                                     By:     /s/ Tiffanie S. Clausewitz
                                           Tiffanie S. Clausewitz
                                           Texas Bar No. 24051936
                                           tiffanie@rosenblattlawfirm.com
                                           Shellie R. Reyes
                                           Texas Bar No. 24082115
                                           shellie@rosenblattlawfirm.com

                                     THE ROSENBLATT LAW FIRM, P.C.
                                     16731 Huebner Road
                                     San Antonio, Texas 78248
                                     (210) 562-2900
                                     (210) 562-2929 – fax

                                     ATTORNEYS FOR PLAINTIFF




JOINT ADR REPORT                                                            PAGE 2
         Case 5:18-cv-01337-DAE Document 5 Filed 04/18/19 Page 3 of 3



                           CERTIFICATE OF SERVICE

       I certify that all attorneys deemed to accept service of the above referenced
document electronically will be notified via the Court’s CM/ECF system, and all others
will be notified via certified mail, return receipt requested, on April 18, 2019.


                                        /s/ Ryan K. McComber
                                       Ryan K. McComber




JOINT ADR REPORT                                                                PAGE 3
